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                    UNITED STATES DISTRICT COURT

                           DISTRICT OF ARIZONA

                                   )
                                   )
Scott Smith; Janel Donnelley,      )
                                   )
             Plaintiffs,           )        JUDGMENT IN A CIVIL CASE
                                   )
      v.                           )        CIV 12-2333-PHX-GMS
                                   )
Wells Fargo, NA; Premier Financial )
Service, Inc.; et al,              )
                                   )
             Defendants,           )
                                   )

      Jury Verdict. This action came before the Court for a trial by jury. The issues
      have been tried and the jury has rendered its verdict.

XX Decision by Court. This action came for consideration before the Court. The
   issues have been considered and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that pursuant to the Court's Order of
March 15, 2013, granting Plaintiffs' Motion for Voluntary Dismissal, judgment is
hereby entered in favor of Defendants. Plaintiffs shall take nothing by way of the
Amended Complaint. The Amended Complaint and this action are hereby dismissed
without prejudice.



  March    15,    2013                BRIAN D. KARTH
Date                                  DCE/Clerk of Court

                                      . s/ Ruth E. Williams
                                      By    Ruth E. Williams
                                            Deputy Clerk
